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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                                       )
 PAR PHARMACEUTICAL, INC.,                             )
 PAR STERILE PRODUCTS, LLC, AND                        )
 ENDO PAR INNOVATION COMPANY, LLC,                     )
                                                       )
                Plaintiffs,                            )        C.A. No. 17-cv-944-JFB-SRF
                                                       )
                v.                                     )
                                                       )
 HOSPIRA, INC.                                         )
                                                       )
                                                       )
                Defendant.                             )


                         JOINT CLAIM CONSTRUCTION CHART


       Pursuant to the Scheduling Order, Plaintiffs Par Pharmaceutical, Inc., Par Sterile Products,

LLC, and Endo Par Innovation Company, LLC (collectively, “Par”) and Defendant Hospira, Inc.

(“Hospira”) hereby submit this Joint Claim Construction Chart in connection with disputed terms

in the patents-in-suit. The parties dispute the construction of terms in U.S. Patent Nos. 9,119,876

(“the ’876 patent”) and 9,295,657 (“the ’657 patent”) (jointly, the “Patents-in-Suit”). The parties’

proposed constructions and citations to the intrinsic record are set forth below:

       The parties’ proposed constructions of the agreed upon and disputed terms of the Patents-

in-Suit are attached hereto as Appendices A and B.
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 Dated: May 25, 2018




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